                                                                               FILED

                                                                            March 16, 2022

                                                                       CLERK, U.S. DISTRICT COURT
                     UNITED STATES DISTRICT COURT                      WESTERN DISTRICT OF TEXAS
                       WESTERN DISTRICT OF TEXAS                           By:        SAJ
                                                                                            Deputy
                           SAN Antonio
                           San ANTONIO DIVISION

                                              Case No: SA-22-CR-00126-XR
UNITED STATES OF AMERICA

     Plaintiff

            v
                                              INDICTMENT
EDUARDO PUENTE 1
                                              COUNT 1: 21 U.S.C. §§ 846, 841(a)(1) and
                                              841 (b)(1)(A); Conspiracy to Distribute and
                                              Possess with intent to Distribute 50 grams or
                                              more of Methamphetamine;

                                              COUNT 2: 21 U.S.C. §§841(a)(1) and 841
                                              (b)(1)(A); Possession with intent to Distribute
                                              50 grams or more of Methamphetamine;

                                              COUNT 3: 21 U.S.C. §§ 841(a)(1) and 841
                                              (b)(1)(A); Possession with intent to Distribute
                                              1 kilogram or more of Heroin;

                                              COUNT 4: 18 U.S.C. § 924(c); Possession of
                                              a Firearm in Furtherance of a Drug
                                              Trafficking Offense, and

                                              COUNT 5: 18 U.S.C. § 922(g)(1); Felon in
                                              Possession of a Firearm



THE GRAND JURY CHARGES:

                                  COUNT ONE
                   [21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)]

                                                                       Defendants,

                              EDUARDO PUENTE,




                                         1
and others known and unknown to the Grand Jury, did unlawfully, knowingly and intentionally

combine, conspire, confederate and agree together and with each other to distribute and possess

with intent to distribute a controlled substance, which offense involved 50 grams or more of

Methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Sections 846, and contrary to Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A).

                                        COUNT TWO
                           [21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)]

                                                                         Defendants,

                                    EDUARDO PUENTE,

did unlawfully, knowingly and intentionally possess with intent to distribute a controlled

substance, which offense involved 50 grams or more of Methamphetamine, a Schedule II

Controlled Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A).



                                                THREE
                           [21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)]

                                                                         Defendant,

                                      EDUARDO PUENTE,

did unlawfully, knowingly and intentionally possess with intent to distribute a controlled

substance, which offense involved 1 kilogram or more of Heroin, a Schedule I Controlled

Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).




                                                2
                                                                                                                                                                                                                                                COUNT FOUR
                                                                                                                                                                                                                                              [18 U.S.C. §924 (c)]

tTd(Dh1iae)fvonkErdDm-aUxAwy9tR,5ibneOg.l2ypPUr3EoNsTcea,ultisbdefr.nRaimfcloseu,rSntamofieltyh:NauUmRnbeirtgdT0S.35ta476er0s,vtionhlafeuri,tshSeraincolefNunmsbeard5lu4eg-0tr8da9fin6c,kaidgacrime




                                                                                                                                                                                                                                                          FIVE
                                                                                                                                                                                                                                            [18 U.S.C. § 922(g)(1)]

                                                                                                                                                                                                                                                                                 Defendant,

                                                                                                                                                                                                                                            EDUARDO PUENTE,

                                                                                                                                                                                                      knowing he had previously been convicted of a crime punishable by imprisonment for a term

                                                                                                                                                                                                      exceeding one year, knowingly possessed a firearm, namely: a Ruger .357 revolver, Serial Number

                                                                                                                                                                                                      545-08986     and a Tavor-x95, .223 caliber. Rifle, Serial Number T0054670, the firearm had

                                                                                                                                                                                                      travelled in interstate and foreign commerce, in violation of Title 18, United States Code, Section

                                                                                                                                                                                                      922 (g)(1).



                                                                                                                                                                                                          NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                                                                                                                                                                                                                              [See Fed. R. Crim. P. 32.2]

                                                                                                                                                                                                                                                      I.
                                                                                                                                                                                                                                  Drug Violations and Forfeiture Statutes
                                                                                                                                                                                                             [Title 21 U.S.C. §§ 846, 841(a)(1), and (b)(1)(A), subject to forfeiture pursuant to
                                                                                                                                                                                                                                     Title 21 U.S.C. § 853(a)(1) and (2)]

                                                                                                                                                                                                             As a result of the criminal violations set forth in Counts One through Three, the United

                                                                                                                                                                                                      States gives notice to Defendant EDUARDO PUENTE of its intent to seek the forfeiture of the


                                                                                                                                                                                                                                                        3
properties described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 21

U.S.C. § 853(a)(1) and (2), which states:

          Title 21 U.S.C. § 853. Criminal forfeitures
                  (a) Property subject to criminal forfeitures.
                  Any person convicted of a violation of this subchapter or subchapter II punishable
                  by imprisonment for more than one year shall forfeit to the United States,
                  irrespective of any provision of State law.--
                          (1) any property constituting, or derived from, any proceeds the person
                          obtained, directly or indirectly, as the result of such violation;
                          (2) any of the person’s property used, or intended to be used, in any
                          manner or part, to commit, or to facilitate the commission of, such
                          violation; . . .

                                             II.
                        Firearms Violations and Forfeiture Statutes
[Title 18 U.S.C. §§ 924(c) and 922(g)(1), subject to forfeiture pursuant to Title 18 U.S.C. §
         924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

          As a result of the criminal violations set forth in Counts Four and Five, the United States

of America gives notice to Defendant EDUARDO PUENTE of its intent to seek the forfeiture of

the properties described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18

U.S.C. § 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461. Section

924(d)(1) states in pertinent part:

          Title 18 U.S.C. § 924. Penalties
               (d)(l) Any firearm or ammunition involved in or used in any knowing violation
              of . . . subsection . . . (g) . . . of section 922, … or knowing violation of section
              924, . . . shall be subject to seizure and forfeiture . . . under the provisions of
              this chapter.......

          This Notice of Demand for Forfeiture includes but is not limited to the following:

                                                  III.
                                           Personal Property



  Seized from Defendant EDUARDO PUENTE:

     1.    $6,400.00, more or less in United States Currency;
                                                     4
      2. a Ruger .357 revolver, Serial Number 545-08986;
      3. a Tavor-x95, .223 caliber Rifle, Serial Number T0054670; and
      4. Any and all firearms, ammunition, and/or accessories involved in or used in the
         commission of the criminal offenses.




ASHLEY C. HOFF
United States Attorney



By:
             Priscilla GARCÍA
        FOR PRISCILLA     Garcia
        Assistant United States Attorney




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